     Case 3:20-cv-00536-S-BT Document 1 Filed 03/02/20                  Page 1 of 7 PageID 1


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

Boland Marine & Industrial, LLC,                       §
                                                       §
        Plaintiff,                                     §
                                                       §   CIVIL ACTION NO.:
v.                                                     §
                                                       §   IN ADMIRALTY, Rule 9(h)
Bouchard Transportation Co., Inc.,                     §
                                                       §
        Defendant,                                     §
                                                       §
and                                                    §
                                                       §
Bank of America, National Association                  §
                                                       §
             Garnishee.                                §

                VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF
              PROCESS OF MARITIME ATTACHMENT AND GARNISHMENT

        Boland Marine & Industrial, LLC (“Boland Marine”) brings this action against Bouchard

Transportation Co., Inc. (“Bouchard”) quasi in rem pursuant to Supplemental Rule B for Certain

Admiralty and Maritime Claims, requesting the issuance of writs of maritime attachment and

garnishment including to Garnishee Bank of America, National Association and states as

follows:

                                       Jurisdiction and Venue

        1.        This is an action within this Court’s admiralty jurisdiction pursuant to 28 U. S. C.

§ 1333 and is an admiralty or maritime claim within Fed. R. Civ. P. 9(h).

        2.        Venue is proper in this District because Garnishee Bank of America, National

Association can be found, and/or can be served with process in this District.




VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF PROCESS OF MARITIME                              PAGE 1
ATTACHMENT AND GARNISHMENT
   Case 3:20-cv-00536-S-BT Document 1 Filed 03/02/20                  Page 2 of 7 PageID 2


       3.        Venue is also proper in this District because Defendant’s property is or soon will

be in this District, namely, one or more bank accounts held by Garnishee Bank of America,

National Association.

       4.        Defendant cannot be found in this District within the meaning of Supplemental

Rule B.

                                            The Parties

       5.        Boland Marine is a Louisiana limited liability company with its principal place of

business in Orleans Parish, Louisiana and provides berthing/dockages, security, vessel repairs,

equipment, labor, maintenance, other services and vessel parts to commercial customers and

vessels at various locations in the Gulf South including the Perry Street Wharf and the Poland

Avenue Wharf in the Port of New Orleans.

       6.        Bouchard is a New York business entity which owns and operates several

tugboats and barges (herein, the “Vessels”) operating throughout the navigable waters of the

United States.

       7.        Garnishee Bank of America, National Association is a banking entity with offices

or agents located in this District which, on information and belief as detailed below, Boland

Marine reasonably believes holds accounts which are the property of and/or owing to Bouchard.

Specifically, Bank of America, National Association holds one or more accounts for the benefit

of Bouchard and by information and belief may hold accounts and other property of Bouchard in

similar debit or deposit accounts (herein collectively, the “Garnishee Bank of America, National

Association Bank Accounts”).

                                               Facts

       8.        Pursuant to requests by defendant Bouchard which included agreed pricing,

Boland Marine provided berthing/dockage, security, labor, materials, equipment, repairs and

VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF PROCESS OF MARITIME                            PAGE 2
ATTACHMENT AND GARNISHMENT
   Case 3:20-cv-00536-S-BT Document 1 Filed 03/02/20                 Page 3 of 7 PageID 3


other related services (collectively hereafter “work”) to the Vessels while docked at the Perry

Street Wharf or Poland Avenue Wharf in the Port of New Orleans in the principal amount of

$1,452,150.00.     The Bouchard Vessels, and invoiced work amounts which Boland Marine

provided to each, are the following:

                TUG LINDA LEE BOUCHARD                             $18,330.00
                BARGE B. NO. 205                                   $10,000.00
                TUG RALPH E. BOUCHARD                              $90,000.00
                BARGE B. NO. 230                                   $844,170.00
                TUG DANIELLE M. BOUCHARD                           $29,670.00
                BARGE B. NO. 245                                   $133,620.00
                BARGE B. NO. 270                                   $104,860.00
                TUG BOUCHARD GIRLS                                 $32,000.00
                BARGE B. NO. 295                                   $185,000.00
                TUG J. GEORGE BETZ                                 $4500.00

                                       Total:                      $1,452,1150.00


          9.     Boland Marine provided the above-described work for the benefit of the Vessels

and Bouchard, all of which was performed by Boland Marine in a good and workmanlike

manner and accepted and utilized by Bouchard.

          10.    Pursuant to the parties’ agreement and course of dealing, Boland Marine invoiced

Bouchard for Boland Marine’s work provided to Vessels in the principal amount of

$1,452,150.00, which, despite amicable demand, and in breach of the parties’ contract, remains

unpaid.

          11.    The work and invoices by Boland Marine to Bouchard constitute maritime

contracts, which Bouchard breached by failing to pay Boland Marine.

          12.    Based on Bouchard’s breach and non-payment, Boland Marine is entitled to

recovery against Bouchard the principal overdue amount of $1,452,150.00, interest at the rate of

1.5% per month, all costs of these proceedings and reasonable attorneys’ fees pursuant to the

terms of Boland Marine’s invoices and the parties’ course of dealing.

VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF PROCESS OF MARITIME                          PAGE 3
ATTACHMENT AND GARNISHMENT
   Case 3:20-cv-00536-S-BT Document 1 Filed 03/02/20                  Page 4 of 7 PageID 4


          13.   In the alternative, Boland Marine is entitled to recovery against Bouchard in the

principal amount of $1,452,150.00, interest at the rate of 1.5% per month, all costs of these

proceedings and reasonable attorneys’ fees under equitable principles including the doctrine of

quantum meruit or unjust enrichment and the terms of Boland Marine’s invoices (and the parties’

course of dealing).


                                Count I – Breach of Maritime Contract

          14.   Boland Marine incorporates the above paragraphs as if fully set forth herein.

          15.   Bouchard breached its maritime contracts with Boland Marine as set out above.

Despite repeated demand, Boland Marine remains unpaid.

          16.   Boland Marine therefore demands judgment, as set out more fully below.

                  Count II: Maritime Attachment and Garnishment (Rule B)

          17.   Boland Marine incorporates the above paragraphs as if specifically set forth

herein.

          18.   Boland Marine seeks issue of process of maritime attachment so that it may

obtain payment for the amounts due to it under the Charter.

          19.   No security for Boland Marine’s claims has been posted by Bouchard or anyone

acting on its behalf to date.

          20.   Bouchard cannot be found within this District within the meaning of Rule B, but

is believed to have, or will have during the pendency of this action, property and/or assets in this

jurisdiction consisting of cash, funds, freight, hire, and/or credits in the hands of garnishees in

this District, including but not limited to the Garnishee Bank of America, National Association

Accounts held by Garnishee Bank of America, National Association.




VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF PROCESS OF MARITIME                            PAGE 4
ATTACHMENT AND GARNISHMENT
   Case 3:20-cv-00536-S-BT Document 1 Filed 03/02/20                 Page 5 of 7 PageID 5


                                       Prayer for Relief

       WHEREFORE, Boland Marine prays:

       A.      That in response to Count I, process of maritime attachment be issued to garnish

and attach property of Bouchard in the principal amount of at least $1,452,150.00, plus

attorneys’ fees, interest and costs of at least $279,649.92 for a total amount of $1,731,799.92 as

detailed above;

       B.      That in response to Count II, since Defendant cannot be found within this District

pursuant to Supplemental Rule B, this Court issue an Order directing the Clerk to issue Process

of Maritime Attachment and Garnishment pursuant to Rule B attaching all of Bouchard’s

tangible or intangible property or any other funds held by garnishee Bank of America, National

Association and any further garnishee, up to the amount of at least the amount demanded herein

to secure Boland Marine’s claims, and that all persons claiming any interest in the same be cited

to appear and, pursuant to Supplemental Rule B, answer the matters alleged in the Verified

Complaint;

       C.      That as provided in Supplemental Rule B, that such person over 18 years of age

be appointed as moved for herein pursuant to Supplemental Rule B and Fed. R. Civ. P. 4(c);

       D.      That this Court award Boland Marine such other and further relief that this Court

deems just and proper.

Dated: March 2, 2020.




VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF PROCESS OF MARITIME                          PAGE 5
ATTACHMENT AND GARNISHMENT
  Case 3:20-cv-00536-S-BT Document 1 Filed 03/02/20         Page 6 of 7 PageID 6


                                            Respectfully Submitted,

                                            /s/ Scott R. Wiehle
                                            SCOTT R. WIEHLE
                                            State Bar No. 24043991
                                            scott.wiehle@kellyhart.com
                                            EMILY R. STEPPICK
                                            State Bar No. 24117095
                                            emily.steppick@kellyhart.com
                                            KELLY HART & HALLMAN LLP
                                            201 Main Street, Suite 2500
                                            Fort Worth, Texas 76102
                                            Telephone: (817) 332-2500
                                            Facsimile: (817) 878-9280

                                            J. Stephen Simms
                                            (pro hac vice motion pending)
                                            jssimms@simmsshowers.com
                                            Simms Showers LLP
                                            201 International Circle, Suite 250
                                            Baltimore, Maryland 21030
                                            Telephone: (410) 783-5795
                                            Facsimile: (410) 510-1789

                                            Attorneys for Boland Marine




VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF PROCESS OF MARITIME                  PAGE 6
ATTACHMENT AND GARNISHMENT
   Case 3:20-cv-00536-S-BT Document 1 Filed 03/02/20                     Page 7 of 7 PageID 7



                                        VERIFICATION

       I am a Principal of the law firm Simms Showers LLP, counsel to Plaintiff.

       The facts alleged in the foregoing complaint are true and correct to the best of my

knowledge and information based upon the records of Plaintiff made available to me by Plaintiff.

Authorized officers of Plaintiff are not readily available in this District to make verifications on

Plaintiff’s behalf. I am authorized to make this verification on Plaintiff’s behalf.

       I further certify that, pursuant to Supplemental Rule B, I caused a search to be made of

electronic records and Directory Assistance for addresses and telephone numbers in this District,

and of the Texas Secretary of State. There is no record of any general or resident agent

authorized to accept service of process for Bouchard in this District.

       Pursuant to 28 U. S. C. § 1746(1), I certify under penalty of perjury that the foregoing is

true and correct.


                                                      Executed on March 2, 2020.

                                                      /s/ J. Stephen Simms
                                                      J. Stephen Simms




VERIFIED COMPLAINT WITH REQUEST FOR ISSUE OF PROCESS OF MARITIME                            PAGE 7
ATTACHMENT AND GARNISHMENT
